
PER CURIAM.
Pursuant to a petition for delinquency, C.D. was charged with unlawful escape from Duval House, a halfway house, as defined in section 39.01(25), Florida Statutes (1989). The issue on appeal is whether the trial court erred in denying appellant’s motion to dismiss the escape charge. We reverse.
*868In D.P. v. State, 597 So.2d 952 (Fla. 1st DCA1992), this court held unconstitutional and invalid that portion of section 39.061, Florida Statutes, pertaining to escape from residential commitment facilities. Thereafter, in R.A.H. v. State, 614 So.2d 1189 (Fla. 1st DCA1993), the court ruled there was no basis in law for treating the decision in D.P. as having the legal effect of reviving the former repealed statute. The state acknowledges that the ruling in R.A.H. decides the issue in this case.
Accordingly, based upon the state’s concession of error, and this court’s decision in R.A.H., C.D.’s determination of guilt of escape is reversed, and this cause is remanded with directions to dismiss the escape charge.
ERVIN, JOANOS and WOLF, JJ., concur.
